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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             2:20-CR-00221-FMO-3                        JS-3

 Defendant           DAMON EUGENE SMITH                                      Social Security No. 7         9   3     5
 akas:   Big Head; Damon Smith                                               (Last 4 digits)




                                                                                                                    MONTH      DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.         10     13      2021

  COUNSEL                                                                Anthony J. Solis, CJA
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Conspiracy to Distribute and to Possess with Intent to Distribute Controlled Substances, in violation of
                     21 U.S.C. §§ 846, 841(b)(1)(B), as charged in Count One of the Indictment.

JUDGMENT             The court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the court, the court adjudged defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the court that defendant is hereby committed to the custody
  ORDER              of the Bureau of Prisons to be imprisoned for a term of: sixty (60) months.

      Upon release from imprisonment, defendant shall be placed on supervised release for a term of four (4)
years under the following terms and conditions:

         1.          Defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                     Services Office and Second Amended General Order 20-04.

         2.          Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit
                     to one drug test within 15 days of release from custody and at least two periodic drug tests
                     thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

         3.          Defendant shall participate in an outpatient substance abuse treatment and counseling program
                     that includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer.
                     Defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription
                     medications during the period of supervision.

         4.          As directed by the Probation Officer, defendant shall pay all or part of the costs of the
                     court-ordered treatment to the aftercare contractors during the period of community supervision.
                     Defendant shall provide payment and proof of payment as directed by the Probation Officer. If
                     defendant has no ability to pay, no payment shall be required.

         5.          During the period of community supervision, defendant shall pay the special assessment in
                     accordance with this judgment's orders pertaining to such payment.

         6.          Defendant shall cooperate in the collection of a DNA sample from defendant.


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 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation             implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and           criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by              vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable            most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




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             The defendant must also comply with the following special conditions (set forth below).

       STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL
 SANCTIONS

         The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest
 or unless the fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18
 U.S.C. § 3612(f)(1). Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g).
 Interest and penalties pertaining to restitution, however, are not applicable for offenses completed before April 24,
 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money order made
 payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and
 number. Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

        If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the
 defendant must pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the
 defendant’s mailing address or residence address until all fines, restitution, costs, and special assessments are paid in
 full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any
 material change in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or
 restitution, as required by 18 U.S.C. § 3664(k). The Court may also accept such notification from the government or
 the victim, and may, on its own motion or that of a party or the victim, adjust the manner of payment of a fine or
 restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before
 the United
                          States is paid):
                             Non-federal victims (individual and corporate),
                             Providers of compensation to non-federal victims,
                             The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

        CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL
                                      SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed
 release authorizing credit report inquiries; (2) federal and state income tax returns or a signed release authorizing
 their disclosure and (3) an accurate financial statement, with supporting documentation as to all assets, income and
 expenses of the defendant. In addition, the defendant must not apply for any loan or open any line of credit without
 prior approval of the Probation Officer.
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                                                         RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined
 on
 Defendant delivered on                                                     to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and
    Commitment.
                                                          United States Marshal


                                                    By
            Date                                          Deputy Marshal



                                                     CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file
 in my office, and in my legal custody.
                                                          Clerk, U.S. District Court


                                                    By
            Filed Date                                    Deputy Clerk




                                    FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of
them.


         (Signed)
                Defendant                                             Date


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                     U. S. Probation Officer/Designated Witness              Date




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